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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION



UNITED STATES OF AMERICA

V                                               CRIMINAL INDICTMENT NO.

MARVIN LEWTON,                                  21-CR-494

       Defendants

                           ENTRY OF APPEARANCE

       Please enter BRUCE S. HARVEY as attorney of record for the Defendant,

MARVIN LEWTON, in the above-captioned matter.

       This 20th day of January, 2002.

                                     Respectfully submitted,

                                     s/Bruce S. Harvey
                                     LAW OFFICE OF BRUCE S. HARVEY
                                     ATTORNEYS FOR DEFENDANT
                                     Bruce S. Harvey, #335175
                                     bruce@bharveylawfirm.com


146 Nassau Street, NW
Atlanta, Georgia 30303
(404) 659-4628
  Case 1:21-cr-00494-SDG-JSA Document 32 Filed 01/20/22 Page 2 of 2




                          CERTIFICATE OF SERVICE

      This is to certify that I have this day served a copy of the within and

foregoing Entry of Appearance for Defendant Marvin Lewton using the Court’s

CM/ECF system which will deliver a copy to all registered to receive service via

CM/ECF, addressed as follows:

                         Nicholas Hardigan, AUSA
                         United States Attorney’s Office
                         600 Richard Russell Bldg.
                         75 Ted Turner Drive, SW
                         Atlanta, Georgia 30303

      This 20th day of January, 2022.


                                            s/Bruce S. Harvey
                                            LAW OFFICE OF BRUCE S. HARVEY
                                            ATTORNEYS FOR DEFENDANT
                                            Bruce S. Harvey, #335175
                                            bruce@bharveylawfirm.com

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